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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA               )
                                       )
                                       )
v.                                     )
                                       )       Criminal No. 1: 22-cr-00354-RCL-1 and 2
RICHARD SLAUGHTER, and
CADEN GOTTFRIED                        )
                                       )
                   Defendants          )
                                       )

     DEFENDANTS’ REPLY TO GOVERNMENT’S OPPOSITION (ECF #58) TO
           DEFENDANTS’ MOTION TO DISMISS Count 1 (ECF #52)


      COMES NOW, the Defendants Slaughter and Gottfried, by and through

undersigned counsel, with this Reply to the Government’s recent opposition

(#58) to Defendants’ Motion to Dismiss Count 1(#52).


      The United States’ Opposition cites no case law with the exception of

“Statement[s] of Facts for Stipulated Trial[s]” in other January 6 cases.


      Never in the history of federal courts has the District of Columbia—

created by the Constitution—been considered “the special maritime or

territorial jurisdiction of the United States.” D.C. is not a U.S. territory.


      There are, of course, courts where robberies, murders, rapes, etc. alleged

at the Capitol or elsewhere in D.C. can be prosecuted and tried. Those are the

District of Columbia Superior Courts. But the U.S. District Court is without

jurisdiction to preside over or try such cases.




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      ACCORDINGLY, Count 1 must be dismissed as it alleges an offense

outside the jurisdiction of this Court.


Dated: September 29, 2023




                                                    Respectfully Submitted,


                                                            /s/ John M. Pierce


                                                               John M. Pierce


                                                          21550 Oxnard Street


                                                           3rd Floor, PMB #172


                                                     Woodland Hills, CA 91367


                                                           Tel: (213) 400-0725

                                              Email: jpierce@johnpiercelaw.com




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                         CERTIFICATE OF SERVICE




      I, John M. Pierce, hereby certify that on this day, September 29, 2023, I

caused a copy of the foregoing document to be served on all counsel through

the Court’s CM/ECF case filing system.




/s/ John M. Pierce

John M. Pierce




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